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                                                                    ND JURY H-18-2

UNITED STATE UF                     1. '   •
                                                                            No. 3:19CR54.      kA--��
                V.                                                          VIOLATIONS:
                                                                            21 U.S.C. §§ 841(a)(l) and 841(b)(l)(B)(vi)
JOSEPH DIAZ, a.k.a. "J"                                                     (Possession with Intent to Distribute, and
      and                                                                   Distribution of, 40 Grams or More of
JOSE DIAZ                                                                   Fentanyl)

                                                                            21 U.S.C. § 846 (Conspiracy to Possess with
                                                                            Intent to Distribute, and to Distribute, 40
                                                                            grams ofFentanyl)

                                                                            18 U.S.C. § 924(c) (Possession ofa Firearm
                                                                            in Furtherance ofa Drug Trafficking Crime)

                                                                            18 U.S.C. § 2 (Aiding and Abetting)

                                                                            21 U.S.C. § 853 (Criminal Forfeiture)

                                                                   INDICTMENT

       The Grand Jury charges:

                                          COUNT ONE
            (Conspiracy to Possess with Intent to Distribute, and to Distribute, Fentanyl)

       1.       On or about February 13, 2019, in the District of Connecticut, the defendants

JOSEPH DIAZ, a.k.a. "J" and JOSE DIAZ, together with others known and unknown to the Grand

Jury, did knowingly and intentionally conspire to violate the narcotics laws ofthe United States.

       2.       It was a part and an object of the conspiracy that the defendants JOSEPH DIAZ,

and JOSE DIAZ, together with others known and unknown to the Grand Jury, would distribute

and possess with intent to distribute a controlled substance, namely, N-phenyl-N-[1-(2-


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                                        /s/
